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                         THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS


  SYMBOLOGY INNOVATIONS, LLC,

                Plaintiff                               Case No. 6:23-cv-00402


                v.                                      JURY TRIAL DEMANDED


  ADT INC.,                                             PATENT CASE


                Defendant.



                 JOINT STIPULATION OF DISMISSAL OF ALL CLAIMS


         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Symbology

Innovations, LLC (“Plaintiff”) and Defendant ADT Inc. (“Defendant”) hereby stipulate and

agree:

               1.     All claims asserted by Plaintiff in the above-captioned action are hereby

dismissed with prejudice.

               2.     Each party shall bear its own attorneys’ fees, costs, and expenses in

connection with this action.




Dated: September 27, 2023

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